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      Exhibit A
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employed as an engineer by a number of companies, including Google and Amazon. I started a
company called Appurify, where I was the Chief Technology Officer. None of my jobs before HeadSpin
involved management, finance, accounting, or investor relations.

Although I was very proficient with developing and improving HeadSpin’s technology and product, I was a
poor CEO. I did not have the substantive experience necessary for the job, and I did not have the
personal and communications skills for the job. I was poor at delegating responsibilities. I was also very
reluctant to spend money – which I believe comes from growing up without money – and did not want to
hire “back office” employees that I now understand are necessary for large companies to operate.

HeadSpin grew quickly – much faster than I or anyone expected. We founded HeadSpin in 2015. By
2018 we had deployed our technology to dozens of customers all over the world and had almost a
hundred employees. I did not understand that we needed to hire people to develop finance and
accounting systems to support such a growing and evolving organization.

Beginning in 2018, I was one member of a three-member board of directors for the company, which
included a partner from Google Ventures and the CEO of Palo Alto Networks, who was the board chair.
Although I communicated (mostly by WhatsApp) with the other members, we only had one meeting of the
board in 2018 and 2019, and at that meeting we only discussed the company’s technology. We did not
meet to review the financial statements, investor fundraising presentations, or the company’s accounting.
The board chair reviewed the investor presentations (which included Annual Recurring Revenue (“ARR”)
projections) before they were sent to investors and provided comments, but we did not discuss the page
in the presentation that showed ARR.

I did two things that were misleading to investors, both of which I deeply regret. The first was that I did
not really know how to calculate ARR, but I put ARR numbers in the investor presentations anyway. The
company kept a spreadsheet that was available to a number of people (including company executives,
the board of directors, and lead investors), that I was responsible for filling in. The spreadsheet was
created in 2017 and was designed to show both new deals in the “pipeline” and finalized deals, and
everything in between – it had two tabs that were called “pipeline” and “forecast.” Beginning in 2017,
when I or a salesperson had a business understanding with a customer, I put the customer and the
financial understanding on the spreadsheet, regardless of where it was in the life-cycle of the deal. I
knew that not all of the direct, “non-channel” deals on the spreadsheet were generating revenue for the
company. However, I used the total amount on the spreadsheet as “ARR” in investor presentations when
we started doing those presentations in 2018. This was misleading. I should have been transparent that
the direct ARR numbers in these presentations included entries related to deals that were “booked” or in
the “pipeline” at the time they were added to the ARR spreadsheet, as compared to deals where a
contract that required specific payments to HeadSpin had been signed.

The second thing I did wrong relates to how the company kept track of invoiced amounts. In 2019, one
existing investor had raised a concern about the amount of “unbilled receivables” on our balance sheet.
This investor suggested that we reduce the amount of unbilled receivables by sending invoices to
customers that had been using HeadSpin’s products. I knew that if we showed revenue as being billed
via invoices, it would appear on the balance sheet as “accounts receivables” rather than “unbilled
receivables.” I provided invoices to our bookkeeper that had not in fact been sent to customers. These
invoices were then included by the bookkeeper as “accounts receivable,” meaning that they appeared as
if the invoices had been sent to the customers. I did this not to inflate revenue, but because I wanted to
appease this important and persistent investor and address the concern the investor was raising. I
believe that the impact was to keep “unbilled receivables” from growing on our balance sheet.

I greatly regret doing both of these things, as I should have been honest with HeadSpin’s investors in all
ways. During the period I have been under investigation, I have learned that the rules in business go
beyond just honesty and transparency. Just as the legal system has rules, the business world does too.
I did not put enough time and energy into thinking about this when I suddenly found myself running a
company and using other people’s money to build it. This is a special trust that requires full transparency
and I realize that now. This has been a deep lesson for me.
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